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                 EXHIBIT E
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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, et al.,

                                PLAINTIFFS,

 v.                                            Civil Action No. 3:24-cv-517

 CADE BRUMLEY, et al.,                         Judge: JWD - SDJ

                              DEFENDANTS.


                         DECLARATION OF VERNON TRAVIS

       Pursuant to 28 U.S.C. § 1746, I, Vernon Travis, duly affirm under penalty of perjury

as follows:

       1.     I am over 18 years of age, have personal knowledge of the matters set forth

herein, and am competent to make this Declaration.

       2.     My name is Vernon Travis. I serve as a Board Member of and Vice

President for the Vernon Parish School Board. I also serve as the Board President of the

Louisiana School Boards Association.

       3.     I understand that the Louisiana Legislature passed into law H.B. 71, which

requires each public school governing authority to display the Ten Commandments in

each classroom because of the prominent role of that text in the history of American public

schools as evidenced by the copies of McGuffey Readers and the textbooks of Noah

Webster, widely used in schools for three centuries.

       4.     I understand that H.B. 71 requires schools to display, alongside the Ten

Commandments, a context statement explaining the history of the Ten Commandments

in American public schools and that H.B. 71 permits the accompanying display of other


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prominent historical documents, including but not limited to the Mayflower Compact, the

Declaration of Independence, and the Northwest Ordinance.

       5.     I understand that H.B. 71 proscribes public school governing authorities

from having to spend their funds to purchase displays, so the authorities can accept

donated funds to purchase displays or accept donated displays.

       6.     I understand that H.B. 71 requires that (a) the State Board of Elementary

and Secondary Education (BESE) adopt rules and regulations that will govern the proper

implementation of the law and (b) the Department of Education (DOE) identify appropriate

resources to comply with the law that are free of charge and list those resources on its

website.

       7.     I understand that public school governing authorities must comply with the

law in 149 days from now—by January 1, 2025—and that the Board is a public school

governing authority under the law.

       8.     There is no H.B. 71 display on any classroom wall in any school under the

Board’s jurisdiction.

       9.     The Board has not accepted any donated funds or accepted any donated

displays under H.B. 71.

       10.    Neither the Board nor its staff has taken any steps to implement H.B. 71.

The Board has not reviewed or considered any particular H.B. 71 display.

       11.    BESE has not adopted any rules or regulations governing the proper

implementation of H.B. 71.

       12.    The DOE has not identified on its website any resources to comply with

H.B. 71.



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